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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

JEZIGN LICENSING, LLC,

                       Plaintiff,
       v.                                              Case No. 8:16-cv-1193-TDC

SKECHERS U.S.A., INC.,

                       Defendant.


                                STIPULATION OF DISMISSAL

       Plaintiff Jezign Licensing, LLC (“Jezign”) and Defendant Skechers U.S.A., Inc.

(“Skechers”) hereby stipulate to dismissal of all claims and counterclaims brought in this suit.

Jezign and Skechers stipulate to dismissal with prejudice as to all counts of Jezign’s claims, and

without prejudice as to all counterclaims. Each party will bear its own fees and costs.



Dated: January 2, 2018                                Respectfully submitted,

                                                      /s/ Joseph J. Zito_______________

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